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                                                                                                               FILED
                                                                                                           J       J.    JR.,
                                                                                                                   CLERK
 AO 91 (Rev. 11/11) Criminal Complaint
                                                                                                               1/29/21

                                         UNITED STATES DISTRICT COURT                                  U.S. DISTRICT COURT
                                                     for the                                        WESTERN DISTRICT OF KENTUCKY
                                         WESTERN DISTRICT OF KENTUCKY

            UNITED STATES OF AMERICA                                 )
                          V.                                         )
                                                                     )        Case No.      3:21MJ-53
            ADDAM TURNER                                             )
                          Defendant

                                                   CRIMINAL COMPLAINT

            I, the complainant in this case, state the following is true to the best of my knowledge and belief.

         On or about the date of December 28, 2020 in the county of Jefferson in the Western District of Kentucky,
the defendant violated:

                     Code Section                                             Offense Description
             18 U.S.C. 875(c)                                                 Interstate Threats




            This criminal complaint is based on these facts:



                           Continued on the attached sheet




                                                                SA
       January 29, 2021
Date: -------                                                Joshua Powers, Special Agent FBI
                                                                    Printed name and title

Sworn to before me and signed by telephone.
         January 29, 2021
Date: _______
                                                                     Judge's Signature

City and State: Louisville, Kentucky                         Colin H. Lindsay, U.S. Magistrate Judge
                                                                     Printed Name and Title
                                                                                                 APGIJDJ (A USA initials)
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                AFFIDAVIT IN SUPPORTOF A CRIMINAL COMPLAINT


I, JoshuaPowers, Special Agent, (hereinafter “Affiant”), having been duly sworn, hereby

depose and state:

    1. Affiant is an investigative or law enforcement officer within the meaning of Federal Rule

        of Criminal Procedure 41 (a)(2)(C), that is, a government agent engaged in enforcing the

        criminal laws and duly authorized by the Attorney General to make arrests.

    2. 1 am a Special Agent with the Federal Bureau of Investigation, (hereinafter “FBI”), and

        have been since July 2020. Your Affiant is currently assignedto the Joint Terrorism Task

        Forceat the FBI’s Louisville Field Office. Affiant graduatedfrom the FBI Academyin

        Quantico, Virginia as a Special Agent. Affiant has received training in interviewing and

        interrogation techniques, arrest procedures, search and seizure, search warrant application,

        and various other investigative techniques.Prior to becoming a Special Agent with the FBI,

        your affiant was employedwith the West Virginia StatePolice as a sworn law enforcement

        officer for approximately nine years where I enforced criminal laws and participated in several

        complex investigations. I hold a Bachelor’s degreein Criminal Justice from West Virginia

        State University.

    3. The facts in this affidavit come from my personal observations, my training and experience,

        and information obtained from other agents and witnesses.Becausethis affidavit is

        submitted in support of application for a criminal complaint and arrest warrant, it does not

        include every fact known concerning this investigation. It does, however, set forth a

        statement of fact and circumstances sufficient to establish probable cause for the issuance

        of an arrest warrant.

    4. Basedon my training and experienceand the facts as set forth in this affidavit, there is

                                                  1
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   probable cause to believe that violation of Title 18, United States Code, Section 875(c)

   (Interstate Threat) has been committed by Addam TURNER.

5. Title 18, United StatesCode, Section 875(c) prohibits transmission “in interstate or foreign

   commerce any communication containing any threat to kidnap any person or any threat to

   injure the person of another,shall be fined under this title or imprisoned not more than

   five years, or both.”

                                    BACKGROUND


6. On December 25, 2020, members of United Pharaoh’s Guard (UPG), including

   TURNER, were present and participated in a caravan protest in the area of St. Matthews,

   Kentucky, just outside of Louisville, Kentucky. St. Matthews Police Department

   (SMPD) conducted a brief prior to responding to the caravan and began to shadow the

   vehicles involved. Protester caravansoften involve protesters using vehicles and getting

   out on foot to illegally block roads, harassing vehicles not involved in the protests, and

   engaging in other illegal activities.

7. UPG is a Boogaloo Bois (“BB”) ideology. “Boogaloo” is a term referencing a violent

   uprising or impending civil war. The term is sometimes used by militia extremists and

   racially or ethnically motivated violent extremists (RMVE), who allude to it using

    shorthandsuchas“big igloo” or “big luau” andimagerysuchasigloos or Hawaiian

    shirts. The term has particularly resonatedwith militia extremists, who have adopted it

   to referencean impendingpolitically-motivated civil war or uprising againstthe

    government following perceived incursions on Constitutional rights–including      the

    Second Amendment–or other perceived government oveneach. Some RMVEs have

   used the term to reference an impending race war–or other conflict–that      will lead to

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          the collapse of the “system,” including the United States government, society, etc. The

          Boogaloo is not a single cohesive group but rather a loose concept arising from Internet

          platforms which hasbecomea rallying point for someextremists.


                                               PROBABLE CAUSE


     8. On Friday, December25, 2020, members of United Pharaoh Guard (“uPa’),                       including

          TURNER, were present and participated in a caravan protest in the area of St. Matthews,

          Kentucky, just outside of Louisville, Kentucky. St. Matthews Police Department

          (SMPD) conducted a brief prior to responding to the caravan and began to shadow the

          vehIcles rnvolved =         =          =           lfollowed the caravan for several mIles and

          witnessed several traffic violations and dangerous behavior.                            initiated a

          traffic stop on the caravan'stwo lead vehicles.                          was speaking with the

          drivers of those vehicles and heard a SMPD officer giving loud verbal commands to

          TURNER to not crossthe road towards SMPD officers. TURNER was observedin the

          200 block of North Hubbards Lane, St. Matthews, Kentucky, wielding an AR-pistol with

          an additional handgun holstered on his person. TURNER was observed placing the

          safetyof the AR-pistol into the fire position thenplacing his right index finger inside the

          trigger guard and onto the trigger. TURNER ignored loud verbal commandsto remove

          his hand from this position, putting officers on scenein fear of imminent physical

          danger and injury. TURNER finally complied. While officers attempted to place

          TURNER into custody,TURNER usedphysical force againstarrestingofficers acting

          under official authority. TURNER was arrested by SMPD for menacing (misdemeanor)


1The complaint has been redacted to remove the identity of the victim to be filed. An unredacted copy was shown
to the court

                                                       3
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   and resisting arrest (misdemeanor). Officer May was the arresting officer and =

   =        assrstedWIth the arrest

9. TURNER used a Twitter profile with a display name of "Profane812" and a user name

   of@ProfaneRedacted
                    (Twitter ID 467224398).This profile was createdin January

   2012. The Twitter account’s Bio section suggests "Profane8 12” is a member of UPG and

   is locatedin or aroundLouisville,Kentucky.

10. Affiant has knowledge of TURNER and believes the photos posted to the account to be

   him. On or aboutDecember28, 2020, "Profane812" tweetedthe following:

                    II AT&T 5GE            16:14              T e 57%c+
                                       Profane81 2
                                         183 Tweets

                    Tweets        Tweets & replies        Media   Likes


                    a ©aP
                              Profane812 @ProfaneRed,...14h ..•
                              OOOOOOOOO'OO




                              Q          O            C>3 A
                         tI   Profane812Retweeted



                    a         andrew tilman @andrewtil... .1d
                              U asked for this. No justice no
                              fucking peace pigs!!!!!!

                                  HIS NAME WAS


                      XD              Q               a           8
                                             4
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11. The above Twitter post shows ,              SMPD, with red crosshairs drawn on his

   head, along with smoke, skull, and flame emojis with what appearsto be an anarchy

   symbol.                  assistedin the arrest of TURNER on December 25, 2020. The

   post has since been deleted and TURNER’s Twitter account has been suspended.

12. Below are screenshotsfrom TURNER’s Facebook“Addam Jusstin” and Twitter

   account “@ProfaneRedacted” indicating he commented on St. Matthews Police

   Department Facebook page following his arrest. The Twitter and Facebook profile

   picture are the samepicture of TURNER. TURNER also had his Twitter account linked

   from his Facebook page prior to the Twitter account being shutdown. The display name

   for TURNER’s Facebook page is “Addam Jusstin.” Database and records check show

   true name for TURNER to be “Addam Jusstin Turner” which is a unique way to spell

   “Addam” and “Jusstin.”
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8             Profane812
              @ProfaneRedacted


If you happen to still have a Facebook,go tell saint
Matthews PD what you think about them, I did
     's AIP            11 18 PU                    e       h ••4A•nnvH    anY   AH HA %
                                                                                             g
                                                             t8gt)luqangthe protest ets arxi sect#dy
  AA              a facebook COm                   e       d tIe endis  rtqnrveIIt to It+ paIN
                                                           weve Item wasno &+scdawl tactes
 +      WIShrW eafyor8    a very WIg     Cha               tI\at Wgad can VW antI         y$u'n m4nnHg
                                                           txit a r&at   gm ftBttnsed. weeHIV
                                                           tgwatS+tUI<#UI   gang of <k#TUSbC
                                                           t+tuBes hereto prOtectDfolnrty andtIe
W        St UattJren RHlc• D8partlrunt
         UB+H7b+rHAU        +                              system oni    pINe    if Wlulre OrI+ of tIe
                                                           'gcx)dcops' wto rUlees ths aKNaal
m--qH'W-'-•'y            U"yCM'Ba-.,     HU nu'y           W ctxx>sesto stay WIthe 'lace' Wu'n
kbUBrg                                                     blaasgultyasttetut   ChatHx#Pb.
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                                                           Purest of Be yea      :: :J ::   :J   / //
                                                           PAP                                             Q
                                                           l+ +wa La+ RWit Here

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                                                           Toal of au ot6cets afa artBereten
                                                           vwtnq tad+ lun a uh ul Merry
                                                           (:tvBUrut.                                      a
                                                           + ip LIU &rgty Uwe

                                                           ClyKod++I

12:47AM . Dec 29, 2020 . Twitter for iPhone


4 LIkes



                                               11:53 PM
                                         a facebook.c a
                a

4                Addam Jusstin
                 Fuck you all and fuck your Christmas.
                 Hope your New Years is fucked too. Your
                 authoritariandomesticterrorismis a
                 threat to our constitutional rights. Learn
                 rules of engagement because you're
                 terrible at them and that is dangerous to
                 public safety! You’rewilling to put the
                 safety of the public in danger to flex your
                 qualified immunity all the while
                 antagonising the protesters and security
                 of the civil rights movementto the point
                 where there was no deescalation tactics
                 that would calm you down. You’re nothing
                 but a racist,over militarised,wealthy,
                 unconstitutionalgang of domestic
                 terrorists here to protect property and the
                 system over people. If you’re one of the
                 "good cops" who notices this corruption
                 and chooses to stay on the '’force" you’re
                 just as guilty as the rest. Quit your job,
                 you’re on the wrong side of history. Enjoy
                 the rest of the year! := ====:J ./ /- /s
                 AP 4                                                                                   a
                 16 mins          Lil e        Reply   More

                                                                                                 6
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 13. SpecialAgent PeterSummersand Task Force Officer Wesley Claxon interviewed

                     m reference to the mcrdent                      advrsed on January 2nd,

    2021, he was notified by SMPD Officer Larry Cushman that TURNER had posted

    something about him on TURNER’s Twitter account (the Twitter post from TURNER

    being referenced is the screenshot included in section 10).                    stated that

    after watching the UPG group behavior, including actions taken by the group on

    December 25, 2020, his first responseto the tweet was to "take it seriously." Because of

    the threat, SMPD adopteda partner system which requires its officers to operate in pairs

    at all times, including responding to all runs with a partner.                  advised he

    hastaken this threat communicated by TURNER via Twitter very seriously, is much

    more security conscious about his home and his family.

 14. 1 know that Twitter, 1355 Market St., Suite 900, San Francisco, California, is a

    microblogging and social networking service. Twitter operates globally via the Internet,

    and materials postedby TURNER to Twitter thus constitute transmission of threat to

    injure the person of another in interstate commerce, The photograph TURNER posted of

                     with red crosshairs drawn on his head, along with smoke, skull, and

    flame emojis in the text portion of the post, demonstrates intent and is a feasible threat to

    injure                 communicated via interstate commerce through the use of

    TURNER’s Twitter account.

 15. Based on the above facts and circumstances as well as this Affiant’s training and

    experience, Affiant states that there is probable cause to believe that ADDAM

    TURNER has committed violations of Title 18, USC Section 875(c), Interstate

    threateningcommunications.



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                            January 29, 2021
